Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 1 of 17 PageID #:3026




                     Exhibit A
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 2 of 17 PageID #:3027
                                                                                  1




 1                    IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
 2                              EASTERN DIVISION

 3   PROTECT OUR PARKS, INC.,                 )   Docket No. 18 CV 3424
     et al.,                                  )
 4                                            )
               Plaintiffs,                    )
 5                                            )   Chicago, Illinois
                     vs.                      )   November 29, 2018
 6                                            )   9:45 o'clock a.m.
     CHICAGO PARK DISTRICT and CITY           )
 7   OF CHICAGO,                              )
                                              )
 8             Defendants.                    )

 9
                      TRANSCRIPT OF PROCEEDINGS - Motion
10                 BEFORE THE HONORABLE JOHN ROBERT BLAKEY

11
     APPEARANCES:
12   For the Plaintiffs:            ROTH FIORETTI LLC
                                    BY: MR. ROBERT FIORETTI
13                                  311 South Wacker Drive
                                    Suite 2470
14                                  Chicago, Illinois 60606

15   For Chicago Park District:
                             BURKE WARREN MacKAY & SERRITELLA PC
16                           BY: MR. JOSEPH P. RODDY
                             330 North Wabash Avenue
17                           22nd Floor
                             Chicago, Illinois 60611
18
     For City of Chicago:           CITY OF CHICAGO, DEPARTMENT OF LAW
19                                  BY: MR. ANDREW W. WORSECK
                                    30 North LaSalle Street
20                                  Suite 1230
                                    Chicago, Illinois 60602
21

22
                          Laura LaCien, CSR, RMR, CRR
23                         Official Court Reporter
                    219 South Dearborn Street, Suite 1212
24                          Chicago, Illinois 60604
                                 (312) 408-5032
25
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 3 of 17 PageID #:3028
                                                                                  2




 1        (The following proceedings were had in open court:)

 2               COURTROOM DEPUTY:        18 C 3424, Protect Our Parks, et

 3   al., versus Chicago Park District.

 4               MR. ROTH:     Good morning, your Honor.         My name is

 5   Mark Roth.      I represent the plaintiffs.

 6               MR. WORSECK:        Good morning, your Honor.       Andrew

 7   Worseck for the City.

 8               MR. RODDY:     Good morning, Judge.        Joe Roddy on

 9   behalf of the Chicago Park District.

10               THE COURT:     We've got a couple things up today.

11   Counsel, have you seen the motion to dismiss?

12               MR. ROTH:     I have, your Honor.       Yes.

13               THE COURT:     Okay.     Do you want to amend your

14   complaint or file a response?

15               MR. ROTH:     No.     We're going to file a response, your

16   Honor.

17               THE COURT:     Okay.     How long do you need to do that?

18               MR. ROTH:     Well, it ties a little bit in with the

19   motion to stay discovery so if I can address those at the

20   same time, I would appreciate that.

21               THE COURT:     Sure.

22               MR. ROTH:     So the defendants have filed a motion to

23   dismiss and a motion for judgment on the pleadings.                 Attached

24   to the motion for judgment on the pleadings are various

25   documents that they're asking the Court to take judicial
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 4 of 17 PageID #:3029
                                                                                  3




 1   notice of.      We had sent out requests to produce and

 2   interrogatories earlier on in the case and, in fact, those

 3   requests to produce interrogatories are now overdue.                 They've

 4   never produced any documents whatsoever, never objected,

 5   never responded to the requests to produce at all so what I'm

 6   asking is that I respond that they produce those documents

 7   and answer the interrogatories within seven days and then I

 8   be given 35 days thereafter to January 11th to file our

 9   response to the motion to dismiss and a motion for judgment

10   on the pleadings.

11               THE COURT:     Exactly which portions of the discovery

12   do you think relate to the issues raised in the defendant's

13   motions?

14               MR. ROTH:     Well, for example, your Honor, in the

15   motion to dismiss, the City and the Park District take the

16   position that there are 11 other museums within parks and --

17               THE COURT:     Counsel, do you want to make your

18   appearance?

19               MR. FIORETTI:      Good morning, your Honor.         Sorry.

20   Bob Fioretti on behalf of the plaintiffs.

21               THE COURT:     Okay.    Go ahead, counsel.

22               MR. ROTH:     So just as one example, your Honor, the

23   City and the Park District are basing their motion at least

24   in large part on the fact that they're saying that there are

25   11 other museums and parks.          Putting aside the fact that this
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 5 of 17 PageID #:3030
                                                                                  4




 1   is much more than a museum, we had asked for all the lease

 2   agreements or use agreements for those museums and in

 3   response they never objected, they never responded, they

 4   never produced them.

 5               Now in their motion for judgment on the pleadings,

 6   they're saying, your Honor, please take a look at just three

 7   of those use agreements and based on three of those use

 8   agreements grant our motion for judgment on the pleadings and

 9   they're not even giving us the other eight agreements.                 So

10   what they're doing is they're using this motion to stay

11   discovery as really a sword, not as a shield, so they're

12   withholding these documents that we have no access to.                 And

13   then, on the other hand, they're saying, well, just consider

14   these select documents that we want the Court to see and

15   we've already asked for these other documents.               That's one --

16   just one example.

17               Obviously, my request to produce, they were tailored

18   to the complaint, your Honor, so I'm not going far afield but

19   that's an example of one thing that they're absolutely basing

20   their motion on but yet they're denying us discovery on the

21   other hand so that's what we're looking for.               And it's -- you

22   know, they've already had -- they brought the motion to

23   stay after -- we're here today after the discovery responses

24   are due.     The first discovery response was due last Tuesday

25   and the supplemental requests for production that asks for
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 6 of 17 PageID #:3031
                                                                                  5




 1   all the museum use agreements, leases, et cetera, was due

 2   yesterday and they've never even bothered to respond those,

 3   your Honor.

 4               THE COURT:     All right.     Other than the lease and use

 5   agreements, what other specific discovery are you requesting

 6   in order to file a response?

 7               MR. ROTH:     Well, we've asked for study and analysis

 8   on the public benefits to the Obama Center, which we've never

 9   received, and there -- and the reason that that's relevant is

10   they're asking the Court to take judicial notice

11   apparently -- which I think is improper but that we'll

12   address that in our response -- that this Obama Center is

13   going to confer a benefit on the public.              They have analysis

14   and studies that they've done that show what the detriments

15   and benefits are and they're refusing to produce those as

16   well.

17               THE COURT:     What else?

18               MR. ROTH:     That's it, your Honor.

19               THE COURT:     Just those two items?

20               MR. ROTH:     Yes, your Honor.

21               THE COURT:     Okay.    Go ahead, counsel.

22               MR. WORSECK:      Thank you, your Honor.        First of all,

23   just to clear up some underbrush regarding the timing of

24   discovery responses and our communications to plaintiffs, by

25   our calculation, the initial set of discovery that the
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 7 of 17 PageID #:3032
                                                                                  6




 1   plaintiff serves, the response date for that was the Friday

 2   after Thanksgiving.        We notified plaintiffs in writing, sent

 3   them an email saying in light of our pending motion to stay

 4   discovery, we believe that we have an appropriate basis, a

 5   good faith basis for declining to respond to those requests

 6   at that time.

 7               The second set of discovery that they issued, which

 8   was tailored to the museum agreements for the other 11

 9   museums, that's due today so that response is not even late.

10   We would intend to take the same position with respect to

11   that as we've taken with respect to the first set in that all

12   of the discovery should be stayed in light of our dispositive

13   motion but counsel's representations of the discovery

14   schedule and the history is just not fair.

15               Counsel mentioned two categories of documents that

16   he thinks he needs in order to respond to the dispositive

17   motion.     The museum agreements are -- we did cite three of

18   those in our motion.        It was not a core argument or a core

19   feature of our motion.         We could have a consultation with

20   plaintiff about whether we would be amenable to producing the

21   other eight, I guess, museum agreements.              The other category

22   of documents that he mentioned, a study of the public

23   benefits resulting from the OPC, that is just not a relevant

24   sort of document under the governing law that applies to the

25   public trust claim in this case.
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 8 of 17 PageID #:3033
                                                                                  7




 1               The Illinois Supreme Court's guidance on that issue,

 2   which would be dispositive here, is that the public trust

 3   question can be and should be determined based solely on

 4   looking at the terms of the governing ordinances and the

 5   governing contract between the City and the Foundation which

 6   we have produced which are matters of public record and which

 7   provide the full contours of the inquiry.

 8               THE COURT:     Is it your position that you would

 9   withdraw any argument you have that is based on the other

10   lease agreements or any studies or any factual issue

11   regarding public benefit or are you going to continue to rely

12   on those arguments albeit in addition to other arguments in

13   your motion?

14               MR. WORSECK:      We would certainly maintain the

15   arguments that the Obama Presidential Center will provide

16   public benefits and that those public benefits can be

17   assessed and determined based on the face of the official

18   governing documents.        That is something that would be

19   potentially relevant to the Court's analysis depending on

20   which line of analysis it would choose to follow.                We've made

21   the argument that the Museum Act standing by itself is enough

22   to decide that issue.         But if the Court were to disagree with

23   that argument and feel the need to start to look at

24   additional factors in the way that the Friends of the Park

25   Decision did, then it would become relevant at that point to
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 9 of 17 PageID #:3034
                                                                                  8




 1   look at the terms of the governing documents to assess the

 2   public benefits, but only the terms of those governing

 3   documents and nothing else.

 4               There was -- in the Friends of the Park case, there

 5   was the attempt to proffer expert testimony contradicting the

 6   asserted public benefits of the Soldier Field renovations and

 7   that was rejected as being irrelevant.

 8               THE COURT:     When a Court considers a motion to

 9   dismiss, one of the things the Court has to consider is

10   whether or not a dismissal is with or without prejudice and

11   there's a variety of factors that go into that analysis.

12   Some of the things I have to look at is the opportunity to

13   amend.    They've chosen not to do that so that's no longer an

14   issue.    The other opportunity is whether or not they've had

15   access to discovery.

16               So as part of the analysis in looking at your

17   motion, one of the things I want to at least assess on the

18   front end is whether or not you have any proportionality or

19   privilege arguments with respect to -- not relevance but

20   those issues with respect to the two pieces of discovery that

21   the plaintiffs have identified as being important to them

22   properly responding to your motion.

23               So do you have the other eight agreements?              Are

24   there, in fact, some studies or analysis?              Do you have those

25   and what are the proportionality and burden issues or any
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 10 of 17 PageID #:3035
                                                                                   9




 1    other privilege or any other issue I would need to address in

 2    whether or not to grant or deny that discovery at this point?

 3               MR. WORSECK:      With respect to the other eight museum

 4    agreements, we have what we think are the universe of those.

 5    That would not be a burdensome thing to produce.

 6               THE COURT:      Okay.   What about the other part?

 7               MR. WORSECK:      With respect to the studies, I don't

 8    know the answer to that as I stand here what that universe

 9    might look like.       Again, we just think it's categorically

10    irrelevant under the governing law that would govern the

11    case.

12               THE COURT:      But you don't otherwise have a -- at

13    least as you stand here today have a specific proportionality

14    argument or a privilege argument, right?

15               MR. WORSECK:      I would ask for the opportunity to

16    make a refined assessment of that if the Court would like.

17               THE COURT:      Well, they've asked for it previously

18    and you're here on a motion to stay so now is the time to

19    address it.     Do you know if you have any proportionality

20    arguments or privilege arguments with respect to those

21    documents?

22               MR. WORSECK:      We may have both, your Honor.          I -- I

23    apologize I can't give more detail.

24               THE COURT:      Okay.

25               MR. WORSECK:      I know you would like it but --
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 11 of 17 PageID #:3036
                                                                                   10




 1               THE COURT:      Okay.

 2               MR. WORSECK:      -- in light of our stay motion, which

 3    took the categorical position that no discovery is necessary,

 4    we haven't gotten into the fine tuning.

 5               THE COURT:      Okay.   Anything else, counsel?         Do you

 6    need to respond to any of that?

 7               MR. ROTH:     No, your Honor.       It is relevant and -- I

 8    mean, they've -- first of all, I think they've admitted on

 9    the museum agreements that they -- well, they're claiming

10    they exist and they're not producing them.              I think that's a

11    very easy decision to order those produced.

12               With respect to the documents regarding the public

13    benefit and such, you know, they've never responded to the

14    request to produce.        They've really waived that objections to

15    those requests and now they're coming in and they're saying,

16    well, we don't know if we're going to object or we're not

17    going to object and that's -- again, that would be fine if we

18    had an unlimited time frame for this case but I know that the

19    Court has already said that you want to reign this thing in

20    and set a relatively quick date so we really need to have an

21    answer to that.      We really believe it is relevant and they've

22    raised it.     That's a central issue in their public trust

23    doctrine argument.

24               THE COURT:      Okay.   Anything else?

25               MR. WORSECK:      I would just say this is something we
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 12 of 17 PageID #:3037
                                                                                   11




 1    argued in our dispositive motion; but if you just look at

 2    this whole sort of pantheon of public trust cases, none of

 3    them get into the weeds in terms of what the public benefits

 4    of a project are.       They arise from situations where the

 5    legislature and/or a local government made a legislative

 6    determination that a particular project was in the public

 7    interest and the Court sometimes look at the face of those

 8    documents to see whether that's facially sensible but they

 9    don't go beyond that to start looking at studies or taking

10    expert testimony or anything like that as to whether, in

11    fact, the public benefits are going to be exactly as

12    contemplated by the legislature.

13               THE COURT:      Okay.   A couple housekeeping matters.

14    The motion for leave to file excess pages, Docket Entry 49,

15    Gloria, that's going to be granted.

16               Did the parties have an opportunity to see the

17    motion that was recently filed, Docket Entry 61, regarding

18    the amicus brief?

19               MR. ROTH:     Well, I saw --

20               THE COURT:      It came in late last -- I don't know

21    what time it came in.        I looked at it around 8:00 p.m. last

22    night so I don't know what time it came in.

23               MR. ROTH:     My email was pinging last night until

24    about 9:00 o'clock so I saw that there were motions filed.

25    Quite honestly, I haven't downloaded those but I saw that
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 13 of 17 PageID #:3038
                                                                                   12




 1    there were three.       I believe there's three motions that are

 2    filed, filed amicus briefs that are up next -- on

 3    December 6th, so next week.          I mean, I guess what I would do

 4    is we'll file a response to that or not before December 6th,

 5    your Honor.

 6               THE COURT:      Well, I want to handle it now.          I don't

 7    want to string this stuff out.          This case is going to move

 8    efficiently and fairly.         What is your argument against the

 9    amicus briefs --

10               MR. ROTH:     Your Honor, I haven't even --

11               THE COURT:      -- because the decision to whether to

12    grant them is really -- I think the words of the Seventh

13    Circuit were it's a matter of judicial grace, so.

14               MR. ROTH:     Understood, your Honor, but quite

15    honestly I haven't opened them so I don't know -- I don't

16    know what they say.        One came in at 9:00 o'clock last night

17    and this morning I was preparing for hearing today so I

18    haven't even looked at those briefs.

19               THE COURT:      Well, assuming worst-case scenario that

20    they're incredibly well written and have everything in the

21    world that you fear would be in a motion, can you still get

22    your response in by January 11th because that's already a

23    longer date than I would normally give in terms of a response

24    to the motion to stay.

25               MR. ROTH:     Yes, your Honor.
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 14 of 17 PageID #:3039
                                                                                   13




 1               THE COURT:      You can?

 2               MR. ROTH:     Yeah.

 3               THE COURT:      Okay.    All right.     Do you want me to

 4    leave on the December 6th date because my inclination would

 5    be to simply grant it, let you look at it, you can respond to

 6    it and then I strike the date, save everybody a little money

 7    on attorneys at that point and then you respond to it.                 And

 8    if it's a great brief, you're going to have a great response.

 9    And if it's not, then it doesn't really matter.

10               MR. ROTH:     Yes, your Honor.        I'm fine with that.

11               THE COURT:      All right.     So the motions for amicus

12    briefs are going to be granted.           We're going to strike the

13    December 6th notice.        We're also set for a case management

14    date on 12-5.      In light of the briefing, I don't think

15    that that -- that might be premature so is there any

16    objection to striking that date?

17               MR. ROTH:     Yes.      We agree, your Honor.

18               THE COURT:      Okay.    All right.     If they file a

19    response, counsel, on January 11th, how long do you need for

20    a reply?

21               MR. WORSECK:      21 days, your Honor.

22               THE COURT:      You need that long, really?         Okay.    All

23    right.

24               MR. WORSECK:      We can certainly file it sooner.

25               THE COURT:      That's fine.     Gloria, give me a 21-day
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 15 of 17 PageID #:3040
                                                                                   14




 1    response -- excuse me, reply date to the response which is

 2    going to be on January 11th.

 3               COURTROOM DEPUTY:       Friday, February 1st.

 4               THE COURT:      And then two weeks for a hearing and a

 5    ruling.

 6               COURTROOM DEPUTY:       Thursday, February 14th at

 7    9:45.

 8               THE COURT:      Is that good for everybody?

 9               MR. WORSECK:      Yes, your Honor.

10               MR. RODDY:      Yes, Judge.

11               MR. ROTH:     Yes.

12               THE COURT:      All right.     Anything else I need to

13    address other than the motion to stay?

14               MR. ROTH:     No, your Honor.

15               THE COURT:      All right.     The motion to stay with

16    respect is going to be denied.          I'm going to order production

17    of the eight other agreements and the studies analysis, if

18    you have them.      If there's any privilege or issues, then

19    you're going to have to make a privilege log and meet and

20    confer with the other side.          Otherwise, I'll expect that they

21    be turned over and the deadline for that will be seven days

22    from today.     What's that date, Gloria?

23               COURTROOM DEPUTY:       December 6th.

24               THE COURT:      Okay.   Anything else we need to address,

25    counsel?
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 16 of 17 PageID #:3041
                                                                                   15




 1                MR. ROTH:    No, your Honor.

 2                MR. WORSECK:     Your Honor, just to --

 3                THE COURT:     Yep?

 4                MR. WORSECK:     -- clarify.      With respect to the

 5    productions that you've just ordered, we would maintain as

 6    you were asking proportionality and burdensomeness and

 7    privilege objections and the kind of the full menu of

 8    objections.

 9                THE COURT:     Well, the -- you indicated there were

10    none as to the eight.

11                MR. WORSECK:     True; yes.

12                THE COURT:     And as to the other ones, you don't have

13    a factual basis to do that because you don't know what's

14    involved so those objections are not preserved.

15                MR. WORSECK:     But if --

16                THE COURT:     If you look at it --

17                MR. WORSECK:     -- upon reviewing the documents at

18    that time, we would have a good faith basis for that

19    position.

20                THE COURT:     Yeah.   It better be really -- I don't

21    expect that you're not going to comply with the seven so if

22    you have an issue with it, you're going to need to file a

23    motion and notice it up before that due date is due.                I don't

24    want this discovery to delay the briefing schedule that's

25    already longer than I would normally set.             Okay?
Case: 1:18-cv-03424 Document #: 88-1 Filed: 02/13/19 Page 17 of 17 PageID #:3042
                                                                                   16




 1               MR. WORSECK:      Understood.

 2               THE COURT:      Okay.   Great.     Have a great holiday.

 3               MR. FIORETTI:      Thank you, your Honor.

 4               MR. ROTH:     Thank you, your Honor.

 5               MR. RODDY:      Thank you.

 6               MR. WORSECK:      Thank you.

 7         (Which concluded the proceedings in the above-entitled

 8    matter.)

 9                             C E R T I F I C A T E

10               I hereby certify that the foregoing is a transcript

11    of proceedings before the Honorable John Robert Blakey on

12    November 29, 2018.

13

14    /s/Laura LaCien
      ________________________                       November 30, 2018
15    Laura LaCien                                         Date
      Official Court Reporter
16

17

18

19

20

21

22

23

24

25
